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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )           Case No. 8:06CR19
                                                  )
       vs.                                        )           AMENDED ORDER
                                                  )
LETICIA BARRIENTOS,                               )
                                                  )
               Defendant.                         )


       The Court has been advised that the defendant requests permission to enter a plea of guilty.
The Court is further advised that the defendant will consent to Magistrate Judge Gossett conducting
the hearing on the plea of guilty.
       IT IS ORDERED that:
       1.      This case, insofar as it concerns this defendant, is removed from the trial docket
based upon the request of the defendant.
       2.      A hearing on the defendant’s anticipated plea of guilty is scheduled before Magistrate
Judge Gossett on Wednesday, June 21, 2006 at 3:00 p.m., in Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       3.      At least two (2) working days in advance of the plea proceeding above, counsel for
plaintiff and for defendant shall provide to the undersigned magistrate judge a copy of the following:
a) a copy of the Petition to Enter A Guilty Plea; b) a copy of any plea agreement; and c) a copy of
any charging document not yet on file. Failure to meet this deadline will cause the plea
proceeding to be cancelled.
       4.      On or before the date for the plea proceeding, counsel for plaintiff and for defendant
shall provide to the assigned probation officer their respective versions of the offense for purposes
of preparing the presentence investigation report.
       5.      For this defendant, the time between today’s date and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See 18
U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).
       Dated this 8th day of June 2006.

                                              BY THE COURT:



                                              s/ F.A. Gossett
                                              United States Magistrate Judge
